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UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA
UNITED. STATES OF AMERICA | CRIMINAL COMPLAINT
V. eo CASE NUMBER: | - LN SorZS

Angel Roxanne Sullivan

 

I, the undersigned complainant, being duly sworn, state that the following is true and correct to

the best of my knowledge and belief:
Count 1

On or about May 21, 2017, in the District of Arizona, within the confines of the Gila River Indian
Community, Indian Country, ANGEL ROXANNE SULLIVAN, an Indian, did unlawfully kill ELI S.
SULLIVAN, with malice aforethought.

In violation of Title 18, United States Code, Sections 1153 and 1111.

Count 2

On or about May 21, 2017, in the District of Arizona, ANGEL ROXANNE SULLIVAN, did
knowingly use and discharge a firearm during and in relation to a crime of violence, that is, Second
Degree Murder, as alleged in Count 1 of this Complaint, a felony prosecutable in a court of the United
States. oe

In violation of Title 18, United States Code, Section 924(c)(1)(A)(iii).

I further state that I am a Deputy Special Agent of the Bureau of Indian Affairs and that this
complaint is based on the following facts:

See Attached Statement of Probable Cause Incorporated By Reference Herein.
Continued on the attached sheet and made a part hereof: © XYes [C1 No

AUTHORIZED BY: Raynette Logan, AUSA MS he AL

| | | fes7
Orlando Ramirez, BIA Deputy Special Agent CCD 2

Name of Complainant . Signature of Complainant

Sworn to before me and subscribed in my presence

Qnoey AY FOO) at
Date /

 

 

 

HONORABLE DAVID D. DUNCAN
United States Magistrate Judge

 
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AFFIDAVIT OF PROBABLE CAUSE IN SUPPORT OF COMPLAINT

Your affiant, Orlando R. Ramirez, being duly sworn, deposes and says:

1. I am a Detective with the Gila River Police Department and am a Deputy

. Special Agent for the Bureau of Indian Affairs (BIA), I have been employed as a Detective
for approximately two years and have been investigating violations of federal law, —
including homicides, assaults, sexual assaults, and controlled substance violations on
Indian Reservations the entire time. I have been employed by the Gila River Police
Department (GRPD) since September 2009. I am a graduate of the Central Arizona Regional
Law Officers Training Academy and the Federal Law Enforcement Training Center, Criminal

Investigator Program.

2. This affidavit is made in support of a Criminal Complaint against ANGEL
ROXANNE SULLIVAN (hereinafter referred to as SULLIVAN), an Indian, for a violation of
Title 18, United States Code, Sections 1153 and 1111, CIR-Murder in the Second Degree,
and Title 18, United States Code, Section 924(c)(1)(A)(iii), Use of a Firearm During a

.Crime of Violence, committed within the confines of the Gila River Indian Community
(GRIC), District of Arizona, on May 21, 2017. I am familiar with the facts surrounding
~ this investigation. The facts contained in this affidavit are from my own observations, as

well as others, during and in the course of this investigation.

3. On May 21, 2017, police officers with the GRPD responded to a male subject
who was found in his bed unresponsive and was later found to have severe penetrating
trauma to the right side of his head. The male victim was located at his residence in
Coolidge, Arizona, which lies within the exterior boundaries of the GRIC, District of
Arizona. The male subject, later identified as Eli S. Sullivan, was pronounced deceased,

and GRPD Criminal Investigations Division detectives responded..
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4, made contact with the victim’s mother, identified as K.S. She is an elderly
‘female who is bound to a wheel chair and is not otherwise mobile. K.S. said she last saw
the victim on May 20, 2017, between the hours of approximately 9:30 P.M. and 10:30 P.M.
The victim told K.S. that he was going to fix his bed and go to sleep. K.S. stated she spoke
to the victim, shut the door to his bedroom, and then she wént to bed. K.S. stated the victim
was alone when she went to bed, and SULLIVAN was inside her bedroom. SULLIVAN
is K.S.’s daughter and the victim’s sister. At approximately 9:00 A.M., on May 21, 2017,
K.S. received a call from Johanna Norris, who asked to speak with the victim. K.S. told
Johanna that the victim was asleep, and that she would wake him up. K.S. approached the
victim’s bedroom and observed the door was cracked open, which she thought was strange.
K.S. also noted SULLIVAN’s bedroom door was also slightly ajar. K.S. stated the victim |
had blankets covering his face, and she could not see the victim’s face. K.S. removed the
blanket from his face, observed the victim was not breathing and saw blood on his face and

beneath his bed.

5. K.S. said she thought SULLIVAN was home the entire evening because at
approximately 8:00 P.M. on May 20, 2017, SULLIVAN entered the rear door of the
residence. K.S. said SULLIVAN appeared to be intoxicated as she entered the residence.
After finding the victim in the morning, K.S. went to get SULLIVAN. K.S. stated
SULLIVAN was not in her room and her clothing and personal belongings were no longer |

inside the room.

6. K.S. said SULLIVAN was home the morning of May 20, 2017. In the
morning, K.S. stated SULLIVAN came inside the house and was carrying a baby blanket.
KS. said she observed something silver, which she believed to be a weapon wrapped inside
the blanket. K.S. advised a male subject, identified as “Larry,” entered the residence. Both |
SULLIVAN and “Larry” proceeded to SULLIVAN’s bedroom, where they remained for
approximately ten to fifteen minutes. K.S. stated “Larry” left the ‘residence and

SULLIVAN followed. SULLIVAN was still holding the blanket, but the silver item was

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no longer visible.

7. KS. said there was a history of violence involving K.S., the victim and
SULLIVAN, for which the Gila River Police Department was contacted a number. of times.
According to K.S., SULLIVAN did not get along with the victim and blamed the victim
for SULLIVAN’S children being removed by GRIC Tribal Social Services (TSS). K.S.
stated SULLIVAN was angry at the victim. SULLIVAN would tell K.S. that she could
not stand the victim and use profane and vulgar language towards the victim. K.S. said
some time in 2016, SULLIVAN told K.S., “You know what? I’m going to come in. And
I’m going to look like I’m happy. And look like everything is okay. But when you guys
go to sleep, I’m going to shoot all of you in the head.” K.S. stated on Thursday, May 18,
2017, she felt threatened by SULLIVAN , when SULLIVAN said, “Oh you'll find out it’s

really bad, you’re going to be sorry.”

8. On May 21, 2017, I spoke with the victim’s nephew, Jordan Antonio Sullivan.
According to K.S., Jordan speaks with SULLIVAN frequently. Jordan told me on
Thursday, May 18, 2017, SULLIVAN approached him and showed him a sawed off
shotgun, telling him, “Look at what I got.” Jordan said she did not tell him any further
details regarding the shotgun or from where she obtained it. Jordan described the weapon
‘as a “shotgun, all silver, round barrel, sawed off with green colored strap attached, a
wooden handle, and black tape wrapped around where your hand goes.” Jordan stated
SULLIVAN had the shotgun located inside a large black duffle bag, which he saw inside
SULLIVAN’S bedroom located at K.S.’s residence.

9. Jordan said he saw SULLIVAN on May 20, 2017, at approximately 8:00
P.M., outside his residence, drinking and listening to music. Jordan stated SULLIVAN
left, but returned at approximately 12:00 A.M., at which time she brought over a 32” Vizio
brand television, the paperwork for her Electronic Benefits Card (EBT) card, some

powdered juice, and cat food. Jordan observed SULLIVAN with a black in color woman’s

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purse and the large black duffle bag he saw her with before. Jordan said SULLIVAN’s
bag was filled with all of her clothing, and SULLIVAN told him she was going with a
friend for a few days. Jordan described SULLIVAN as appearing “very tired” and wearing

a black in color hoodie sweatshirt and Converse “Chuck Taylor” shoes.

10. On the morning of the murder, GRPD Sergeant Jason Figueroa assisted with
the investigation at K.S.’s house. Sergeant Figueroa located a set of Chuck Taylor shoe
impressions, which appeared to exit the west side of the residence through the back yard.
Sergeant Figueroa followed the shoe impressions from the residence, along a dirt road to
an open field area, just west of the GRIC District 1 Service Center. Located in the field
area was a very large tree, towards which the shoe impressions appeared to lead. Sergeant
Figueroa located a black in color woman’s purse and a large, black in color, duffle bag
inside the tree, matching the description later provided by Jordan as belonging to
SULLIVAN. The items were seized as evidence, and a sawed off shotgun matching the
description provided by J ordan as the weapon possessed by SULLIVAN was located inside
the black duffle bag. Also located inside the duffle bag were personal items such as a
notebook, pictures of SULLIVAN, and a sonogram photograph with the name Angel
Sullivan printed on the top margin of the picture. The location where the duffle bag was

found is approximately a quarter of a mile from where the victim’s body was located.

11. The items located inside the tree were taken to the police department for
evidence packaging and storage. Upon further inspection of the shotgun, a spent 12 gauge
shell casing was located inside the chamber of the shotgun. Two additional un-used 12
gauge shells were located inside the tubular magazine underneath the barrel of the shotgun.
Additionally, five 12 gauge shotgun shells were located inside a small cloth pouch inside
the front zippered pocket of the duffle bag.

12. On May 24, 2017, an autopsy was conducted on the victim by the Pima

County Medical Examiner’s Office. The medical examiner determined the cause of death

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“was a single gunshot wound to the head. Inside the victim’s skull, the medical examiner
located pellets and plastic wadding consistent with a shotgun cartridge. Also located inside

the skull was a blue in color cloth material.

13. I confirmed with tribal enrollment services processor Joel Lasiloo that

SULLIVAN and the victim are enrolled members of the GRIC.

14. Your affiant conducted research of police calls for service at K.S.’s home
involving the victim and SULLIVAN, utilizing the GRPD Records Management System.
The check revealed multiple incidents in which SULLIVAN was listed as the suspect and
the deceased victim as the victim. The GRPD report numbers were identified as follows:

GRPD #15-04824, dated 10/16/2015, in which SULLIVAN told K.S. and the
victim, “I’m gonna kill all you mother fuckers.”

GRPD #15-04858, dated 10/18/2015, in which SULLIVAN threatened K.S. and the
victim, saying, “I’m going to kill all you mother fuckers.” The victim was the reporting
party, and he said SULLIVAN was striking K.S. prior to police arrival.

GRPD #16-01 878, dated 04/24/2016, in which SULLIVAN physically assaulted the

victim by punching him in the face with a closed fist, while she was five months pregnant.

15. | Based on the above listed facts, your Affiant believes there is probable cause
to charge ANGEL ROXANNE SULLIVAN, an Indian, with the crimes of CIR-Murder in the
Second Degree, in violation of Title 18, United States Code, Sections 1153 and 1111, and Use
of a Firearm During a Crime of Violence, in violation of Title 18, United States Code,
Section 924(c)(1)(A)(i1i), within the confines of the Gila River Indian Community (GRIC),
District of Arizona, on May 21, 2017.
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I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.
Dated: S$ /24 /20/6
Orlando Ramirez, Detective

Gila River Police Department

Subscribed and sworn to before me this? 7 * 7 “day o

       

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HONORABLE DAVID K. DUNCAN
United States Magistrate Judge
